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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                                DISTRICT OF COLUMBIA

JARED J. REARY
1243 Tracy Lane
Hillsboro, MO 63050
                                                                  Case No. (To be assigned)
                      Plaintiff,
                                                                   Judge (To be assigned)
                          v.

MARK T. ESPER, in his official capacity as
United States Secretary of Defense;
1000 Defense Pentagon,
Washington, DC 20301-1000

KENNETH BRAITHWAITE, in his official
capacity as
United States Secretary of the Navy;
1000 Navy Pentagon
Washington, DC 20350-1000

BOARD FOR CORRECTION OF NAVAL
RECORDS
701 S. Courthouse Road
Building 12, Suite 1001
Arlington, VA 22204-2490

                     Defendants.



                                             COMPLAINT

          1.       This is an action for declaratory and injunctive relief brought by Jared R. Reary

 (“Plaintiff” or “Reary”) against Mark T. Esper, in his official capacity as United States Secretary

 of Defense, the Board for Correction of Naval Records (“BCNR”), and Kenneth Braithwaite, in

 his official capacity as the United States Secretary of the Navy (collectively, the “Defendants”).

 As discussed below, the Defendants erred when they denied Plaintiff’s application to the BCNR

 seeking disability retirement status and a combined disability rating of at least 30% for Plaintiff’s

 medical disabilities. The BCNR decision was arbitrary, capricious, contrary to law, and
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unsupported by substantial evidence. Specifically, the BCNR ignored evidence that Reary’s

Major Depressive Disorder made him unfit for service and warranted at least a 70% disability

rating, which would in turn entitle Reary to a medical retirement from the Navy. The BCNR’s

error deprived Reary of a higher disability rating and thus the stature and benefits that flow from

being designated as a military retiree.

         2.       Mr. Reary joined the Marine Corps in February 2010, serving as a Heavy

Equipment Operator. He deployed to Afghanistan for seven months in 2011 with a combat

engineer battalion and was subjected to multiple improvised explosive device (IED) blast

exposures while traveling in convoys during his deployment. After his return, Mr. Reary

suffered from major depression, which made it extremely difficult for him to interact with others,

concentrate, make decisions, or complete tasks, and significantly impaired his memory. A

Department of Veterans’ Affairs (“VA”) mental health screening confirmed his major depression

and assigned him a Globalized Assessment of Function (“GAF”) score consistent with “serious”

impairment in social and occupational functioning based on the Diagnostic and Statistical

Manual of Mental Disorders (“DSM-IV-TR”). Due to these impairments, in January 2013 Mr.

Reary’s treating military mental health professional placed him on limited duty, which prevented

him from handling weapons, participating in field training, accessing firearms, and from

performing overnight duty. In other words, due to restrictions based on his mental health

conditions, Mr. Reary could not perform the basic duties of a Marine or of his military

operational specialty (“MOS”) as a Heavy Equipment Operator.

         3.       Despite these impairments diagnosed by multiple mental health professionals, the

Navy referred Mr. Reary to the military’s Disability Evaluation System (“DES”) in 2013 only for

an unrelated shoulder injury, and subsequently medically separated Mr. Reary with a 10 percent


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disability rating for that shoulder injury alone. Not only did the Navy fail to refer Mr. Reary for

his mental health condition, but it also gave no consideration as to whether his mental health

conditions were duty limiting or unfitting during the Medical Evaluation Board (“MEB”) and

Physical Evaluation Board (“PEB”) portions of his DES proceedings, violating the requirement

that the Navy PEB consider all known medical conditions in the DES process. Had the Navy

properly considered Mr. Reary’s well-documented mental health conditions which prevented

him from carrying a weapon or performing the duties of his military occupational specialty

(“MOS”), he would have been medically retired based on these conditions rather than merely

separated.

         4.       In 2018, Mr. Reary applied to the Board for Correction of Naval Records (the

“Board”) to correct his records by awarding him the medical retirement status that he should

have received in 2013. In that application, he argued that the Navy violated his rights by not

referring him to the Navy’s DES for his mental health conditions and not considering his mental

health conditions in the DES process. He further argued that, if the Navy had done so, he would

have been awarded disability retirement.

         5.       The Board, however, denied his application for relief. The Board inferred that the

Navy’s error, the lack of consideration of Mr. Reary’s major depression in the DES process, was

evidence that the Navy had affirmatively decided that his mental health was not unfitting,

bootstrapping the same error for which Mr. Reary sought relief into a reason to fail to correct it.

The Board also concluded that Mr. Reary’s mental health condition was not unfitting by pointing

to the fact that Mr. Reary could continue to perform the tasks assigned to him as part of his

limited duty, ignoring the statutory law that requires each military branch, including the Navy, to

make fitness determinations by evaluating whether a service-member is able to perform the


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duties expected of their grade and MOS. The Board also refused to consider the VA’s finding of

significant impairment based on the DSM-IV-TR, despite binding DOD regulations requiring the

DES to follow the diagnosis system specified by the DSM-IV-TR.

         6.       Mr. Reary now sues to right this wrong. For the reasons explained below, the

Board’s refusal to grant Mr. Reary the relief he sought in 2018 was arbitrary and capricious,

unsupported by substantial evidence, and contrary to law. Mr. Reary is entitled to relief.

                                    NATURE OF THE ACTION

         7.       This is an action under the Administrative Procedure Act for equitable relief in

the form of the correction of Mr. Reary’s military records to reflect a medical retirement.

         8.       At the time of Mr. Reary’s separation, binding Department of Defense and Navy

regulations—DODI 1332.28, Enc. 3, ¶ 1.2.3 and SECNAVINST 1850.4E, Encl. 8, ¶ 2j—

required the Navy to “document the full clinical information of all medical conditions the

Service member has and state whether each condition is cause for referral into the DES.”

Despite the fact that Mr. Reary had a documented mental health impairment due to major

depression at the time of his separation, the Navy failed to document this condition and state

whether the condition was cause for referral into the DES. The Board compounded this error by

failing to award Mr. Reary a medical retirement or at minimum remand the case for DES

processing following the regulation.

         9.       Department of Defense and Navy regulations, including DODI 1332.38, ¶ E4.13

and SECNAVINST 1850.4E, ¶ 8013(a)(2), also required the Navy to follow the diagnosis

system specified by the DSM-IV-TR, including the GAF diagnosis system. The Board

nevertheless ignored the VA’s findings of serious impairment according to the DSM-IV-TR

entirely on the basis that VA findings are used for a different purpose than separation findings.

The Board’s decision to ignore the VA findings entirely also was in error, because a “VA rating
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decision should not be disregarded by the BCNR” and “should be weighed by the BCNR,

together with all other evidence…” Bosch v. United States, 27 Fed. Cl. 250, 265 (Fed. Cl. 1992);

see also Jordan v. United States, 205 Ct. Cl. 65, 80 (Ct. Cl. 1974) (using VA ratings decision as

evidence to find service member was unfit for duty).

         10.      The Board also erred by relying on evidence of Mr. Reary’s ability to perform

limited duty— even when restricted from carrying a weapon, performing field duty, or

performing duties in his MOS— to deny his application. The Navy was required by DODI

1332.18, Enc. 3, Appx. 2, ¶¶ 2, 4 to consider whether Mr. Reary was “unable to perform the

duties of his office, grade, rank, or rating” including his ability to perform common military

tasks, his deployability, and special qualifications.

         11.      Each of these failures rendered the Board’s decision arbitrary and capricious,

unsupported by substantial evidence, and contrary to law. Mr. Reary is entitled to relief.

                                    JURISDICTION AND VENUE

         12.      This Court has jurisdiction over this action under 28 U.S.C. § 1331 because this

case raises federal questions under the Administrative Procedure Act, 5 U.S.C. § 702 et seq.

Plaintiff also seeks relief under the Declaratory Judgment Act, 28 U.S. C. §§ 2201, 2202.

         13.      Plaintiff seeks solely equitable relief in this action, namely, a correction of his

military record to reflect medical retirement status.

         14.      Plaintiff sought relief for this issue before the BCNR, which was denied.

         15.      Review of the BCNR’s decision with respect to Plaintiff’s request to be placed

into medical retirement status is appropriate because the ruling was a final agency action for

which there is no other adequate remedy in a court. See 28 U.S.C. § 704.




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         16.      Venue in this Court is proper under 28 U.S.C. § 1391(e)(1) because a Defendant

resides in this judicial district. Venue is also proper under 5 U.S.C. § 703 because this is a Court

of competent jurisdiction.

         17.      In accordance with 28 U.S.C. § 2501, this action is brought within six years of the

BCNR’s decision denying relief.

                                                 PARTIES

         18.      Plaintiff Jared Reary is a citizen of the United States, and a resident of Arnold,

Missouri. Mr. Reary served in the U.S. Marine Corps beginning in 2010. Mr. Reary served in

Afghanistan and was honorably discharged from the Marine Corps in May 2013.

         19.      Defendant Esper is the United States Secretary of Defense. He is the chief officer

of the Department of Defense, and exercises authority, direction and control over the Department

of Defense. Upon information and belief, defendant Esper performs a significant amount of his

official duties within this judicial district.

         20.      Defendant BCNR is an agency of the Department of the Navy. The BCNR is

located in Arlington, VA.

         21.      Defendant Braithwaite is the United States Secretary of the Navy. He is the chief

officer of the Department of the Navy, and exercises authority, direction and control over the

Department of the Navy. Upon information and belief, Defendant Braithwaite performs a

significant amount of his judicial duties within this judicial district.

                                     FACTUAL ALLEGATIONS

I.       Military DES Process.

         22.      Chapter 61 of Title 10 of the United States Code establishes the process through

which the Navy discharges disabled sailors and Marines. It authorizes the Secretary of the Navy

to separate a member of the Navy when it determines that the member is “unfit” to perform the
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duties of his or her office, grade, rank, or rating due to physical or mental disability. This chapter

also provides the Secretary with broad discretion to design the regulations for determining

fitness. 10 U.S.C. § 1216(a)–(b).

         23.      Secretary of the Navy Instruction 1850.4E establishes the Navy DES under the

provisions of Title 10, United States Code, Chapter 61 and DoDI 1332.38.

         A.       DES Referral.

         24.      When a Navy service member becomes wounded, ill, or injured, an attending

physician at a medical treatment facility will assess and treat the member.

         25.      If a wound, illness, or injury results in a permanent condition or has long-lasting

effects, a service member is referred to the DES by an attending physician.

         26.      DoDI 1332.38, E3.P1.6.1 requires DES referral within one year from the date of

diagnosis of a service member’s medical condition where that medical condition renders the

service member unable to return to full military duty.

         B.       MEB Phase.

         27.      After a service member’s referral to the DES, a Medical Evaluation Board

(“MEB”) convenes to document the service member’s full clinical medical history. See DoDI

1332.38, E3.P1.2.3. A service member’s clinical history must include his or her “medical history,

appropriate physical examination, medical tests and their results, medical and surgical

consultations as necessary or indicated, diagnoses, treatment, and prognosis.” Id.

         28.      The MEB is charged with determining whether any of the service member’s

mental or physical conditions fail the retention standards set forth by the service member’s

particular military branch. See DoDI 1332.38, E4.A1.1.2.11.2. If the MEB decides that none of

the service member’s medical conditions fail medical retention standards, the member is returned

to full duty. If the MEB decides that one or more of the service member’s medical conditions
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fail(s) medical retention standards, the member is referred to a Physical Evaluation Board

(“PEB”). See DoDI 1332.38, E4.A1.1.2.11.4. Navy and Marine Corps service members have the

right to appeal an MEB’s decision.

         C.       PEB Phase.

         29.      Upon referral from a MEB, the PEB determines the fitness of the service

member’s medical conditions, finding those conditions unfit when they leave the service member

unable to reasonably perform the duties of his or her office, grade, rank or rating. See DoDI

1332.38, E3, P3.2.1.

         30.      The PEB process has four possible outcomes. A service member can be found: (a)

fit for duty; (b) unfit for duty but ineligible for disability benefits because, among other reasons,

the disabling condition was not incurred in the line of duty, existed prior to service, was the

result of intentional misconduct or willful neglect, or was incurred during an unauthorized

absence; (c) unfit for duty and eligible for medical retirement with monthly disability retirement

pay and other benefits; or (d) unfit for duty and eligible for medical separation with disability

severance pay.

         31.      If a service member is found unfit and eligible for disability benefits (i.e., under

outcomes (c) or (d) above), then the PEB must assign a percentage disability rating for each

unfitting condition. A PEB’s disability rating controls the amount of military benefits and

services to which the service member is entitled upon discharge. The rating, when above 30

percent, dictates that a service member is “medically retired” with monthly disability retirement

pay and other benefits, such as lifetime healthcare coverage and military commissary and

exchange privileges (i.e., outcome (c) above); when below 30 percent, the service member is

“medically separated” with a one-time lump sum severance payment and no additional benefits

(i.e., outcome (d) above). See 10 U.S.C. § 1201.
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         32.      Title 10 of the U.S. Code and the rules of each of the service branches have long

mandated that the armed forces follow the Veterans Affairs Schedule for Rating Disabilities

(“VASRD”) when rating the disability of service members found unfit for duty due to physical

or mental disability. See 10 U.S.C. §§ 1201, 1203; National Defense Authorization Act for Fiscal

Year 2008, Pub. L. No. 110-118, § 1642(a), 122 Stat 465, codified at 10 U.S.C. § 1216a.

         33.      A service member found unfit may appeal the PEB’s decision in writing and in

person at a formal hearing with legal representation. See DoDI 1332.38, E3.P1.3.3.4–3.3.5. A

service member found fit for duty is not entitled to a formal PEB since a finding of fit does not

cause involuntary separation for a physical disability. See DoDI 1332.38, E3.P1.3.3.1.2.

II.      Facts of Mr. Reary’s Case.

         A.       Initial Service

         34.      Mr. Reary served honorably on active duty in the U.S. Marine Corps from

February 22, 2010 to June 12, 2013. Mr. Reary served as an Engineer Equipment Operator. Mr.

Reary deployed to Afghanistan with the 2nd Combat Engineer Battalion (CEB) in support of

operation Enduring Freedom from January 24, 2011 to August 13, 2011. He deployed to

Afghanistan despite injuring his shoulder in an off-duty accident shortly before reporting to 2nd

CEB. While serving in Afghanistan, Mr. Reary experienced multiple blast exposures, including

nine total IED explosions, one of which struck the vehicle in front of him. Mr. Reary’s awards

for his active duty service included the Navy Unit Commendation, Good Conduct Medal, and

Afghanistan Campaign Medal with gold star, and NATO Medal- ISAF Afghanistan.

         B.       Return to U.S. and Post-Deployment Medical Assessment and Treatment

         35.      After Mr. Reary returned from his deployment, he experienced severe difficulty

sleeping, concentrating, and making decisions, as well as fatigue and memory lapses. These

symptoms made it “extremely difficult” to do his work, take care of things, or get along with
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other people. Additionally, after returning from deployment, Mr. Reary experienced feelings of

depression or hopelessness “nearly every day.” Mr. Reary repeatedly sought medical treatment

for his depression and insomnia throughout the time period from his return from deployment

until his separation. After his return from deployment, Mr. Reary was prescribed anti-

depressants for his MDD.

         36.      Although he received behavioral health treatment and medication, Mr. Reary’s

depression repeatedly interfered with the performance of his duties. While

Mr. Reary had a “clean record” until his return from his deployment, after his return from

Afghanistan, he began to receive repeated negative counselings for tardiness and his proficiency

and conduct marks declined. Notably, Mr. Reary’s treating mental health provider

recommended in January 2013, inter alia, that Mr. Reary be given “no access to firearms.”

         C.       Separation Through the DES Without Consideration of Mental Health
                  Conditions

         37.      Due to Mr. Reary’s chronic depression as well as his shoulder injury, Mr. Reary’s

Medical Case Manager and Unit Medical Officer recommended that he be referred to the

Wounded Warrior Battalion, East (WWBE). While Mr. Reary was assigned to WWBE, Mr.

Reary was referred into the DES process only for his shoulder condition. On February 1, 2013,

Mr. Reary’s MEB recommended referring his case to the Physical Evaluation Board for fitness

for duty determination, with the opinion that Mr. Reary’s shoulder injury interfered with the

performance of his assigned duties. The MEB’s sole member was Mr. Reary’s orthopedic

surgeon, who had previously treated Mr. Reary only for his shoulder injury. Although Mr.

Reary’s electronic medical history showed that he was experiencing chronic depression and

taking antidepressants, that his medical history was “otherwise remarkable for mood

disturbance,” and that his mental health care provider had recommended that he be restricted

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from carrying a weapon, the MEB did not consider or make any finding regarding his mental

health conditions. As a result, Mr. Reary was referred to the PEB only for his shoulder injury

(chronic right AC separation).

         38.      As part of his MEB, Mr. Reary’s commander wrote in his non-medical

assessment that Mr. Reary’s health conditions made him “unable to carry on MOS missions.”

Mr. Reary’s commander made it clear that it was not just his shoulder that left him unable to

perform the tasks of his MOS, stating that Mr. Reary required “supervised direction to complete

tasks,” and that he had “personal issues” that “continuously interfere(d) with his daily duties.”

Mr. Reary’s commander further reported that Mr. Reary was “unable to deploy in his current

condition” and “cannot perform field duty status for his military occupational specialty.”

         39.      On February 14, 2013, as part of the DES process, a clinical psychologist

performed a compensation and pension examination (CPE) of Mr. Reary for mental disorders.

Mr. Reary’s CPE report confirmed that his major depressive symptoms started during his

deployment in August 2011 because of “bad things that happened while he was on deployment.”

Mr. Reary’s symptoms included continual depressed mood, diminished interest in almost all

activities, insomnia, psychomotor agitation, continual fatigue, feelings of worthlessness or guilt,

social withdrawal, irritability, difficulty concentrating, anxiety, and memory loss. Mr. Reary’s

CPE also documented that he began to experience recent and immediate memory impairments

after exposure to multiple IEDs and a vehicle accident while deployed, including trouble

following conversations, misplacing items, trouble with sustained concentration, distractibility

and “blank[ing] out a lot.” (Id. at 6.) Mr. Reary’s symptoms, including his anxiety and cognitive

difficulty, interfered with his work and social activities.




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          40.     Mr. Reary’s examining physician confirmed that he met DSM-IV-TR criteria for

Moderate to Severe Major Depressive Disorder and assigned him a Global Assessment of

Function (GAF) score of 42, consistent with “serious symptoms” or “serious impairment in

social, occupational, or school functioning.” Specifically, the CPE provided that Mr. Reary’s

symptoms caused him to lose focus, lose things, forget important things, have difficulty changing

sets and problem sets, and “become overwhelmed if asked to do too much thinking.”

          41.     The PEB met for the first time on March 25-26, 2013. Despite the CPE findings

reflecting Mr. Reary’s moderate to severe MDD and low GAF score, the PEB’s worksheet

indicates that it only considered Mr. Reary’s shoulder injury, which it found unfitting, and

contains no reference to his mental health conditions or the CPE findings.

          42.     After the PEB’s initial findings, the VA issued a Proposed Rating Decision (PRD)

on April 3, 2013. The PRD proposed rating Mr. Reary’s right AC separation with a 10%

disability rating under the VASRD. The PRD further proposed rating Mr. Reary’s MDD as

service-connected with a 70% disability rating, among other conditions, totaling a 90% disability

rating.

          43.     The PEB applied the VA’s rating of 10 percent to Mr. Reary’s right AC

separation, causing him to receive only a medical separation with a severance payment, not a

medical retirement.

          44.     After Mr. Reary’s separation, the VA confirmed his 70% disability rating for

MDD. In 2015, Mr. Reary underwent a follow-on CPE for mental health. Based on his follow-

on CPE, the VA continued Mr. Reary’s 70% rating for MDD, and recognized his insomnia with

“persistent day-time hypersomnolence” for the first time with a 30% rating, retroactive to Mr.

Reary’s separation from the Marine Corps on June 30, 2013.


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         D.       Application to the Board for Correction of Naval Records and Denial of
                  Relief

         45.      In April 2018, after struggling with his medical conditions for several years, Mr.

Reary sought a correction of his military records from the Board for Correction of Naval Records

to reflect that both his right AC separation and his major depressive disorder were unfitting

conditions at the time of his discharge and that his medical separation be changed to a medical

retirement status based on the combination of unfitting conditions.

         46.      In a letter accompanying his application to the Board, Mr. Reary presented his

case, highlighting, among other things, the fact that the MEB and PEB failed to consider his

mental health conditions, including the “serious” impairment found by the VA and his inability

to carry a weapon or perform the duties of his MOS.

         47.      On May 14, 2019, the Board denied Mr. Reary’s application in a two-page letter.

The Board reconsidered Mr. Reary’s application due to the fact that the Board relied on advisory

opinions from the Secretary of the Navy Council of Review Boards (CORB) which were not

received by Mr. Reary or his counsel prior to the original decision. However, after reopening the

case to enable Mr. Reary to respond to the CORB advisory opinions, on November 25, 2019, the

Board again denied Mr. Reary’s application based on substantially identical reasoning.

         48.      Both Board decisions repeated the same series of errors. In both cases, the Board

explicitly relied on Mr. Reary’s ability to perform administrative tasks on limited duty in

garrison as an indication of fitness for duty and dismissed his mental health-based restrictions on

carrying a weapon, deploying, or performing basic duties of his MOS. Additionally, in both

decisions the Board relied on the absence of a referral to the DES for mental health conditions as

evidence that Mr. Reary’s mental health providers had affirmatively decided not to refer him to

the DES for such conditions. The Board also dismissed the severity of Mr. Reary’s MDD found

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by the VA on the rationale that VA disability ratings do not require unfitness for service, but

failed to consider whether the serious degree of impairment found by the VA was itself evidence

of unfitness.

                 COUNT I- VIOLATION OF ADMINISTRATIVE PROCEDURE
                                ACT (5 U.S.C. § 706(2)(A)


         49.      Mr. Reary re-alleges and incorporates by reference each of the foregoing

paragraphs as if set forth in their entirety herein.

         50.      Mr. Reary has exhausted his administrative remedies at the Navy.

         51.      The BCNR acted arbitrarily and capriciously by rejecting Mr. Reary’s argument

that the Navy erred by failing to refer him to the DES process, for well-documented serious

impairment due to mental health conditions, despite the Navy’s own regulations requiring the

consideration of all known medical conditions through the DES process.

         52.      The BCNR acted arbitrarily and capriciously by focusing on Mr. Reary’s fitness

for administrative tasks in garrison, despite the Navy’s own regulations requiring the

consideration of Mr. Reary’s ability to carry a weapon, deploy, and perform the basic

requirements of his MOS due to his mental health condition.

         53.      The BCNR acted arbitrarily and capriciously by relying on the failure of the

Department of Navy to refer Mr. Reary to the DES process for mental health conditions as

evidence that his mental health providers made an affirmative decision that those conditions did

not warrant referral. Had the evidence been properly considered, Mr. Reary’s major depressive

disorder should have been found unfitting. No evidence to the contrary was presented—unless

the BCNR improperly considered the absence of evidence as affirmative evidence—and

therefore the preponderance of the evidence clearly supported the relief sought by Mr. Reary.


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         54.      The BCNR acted arbitrarily and capriciously by ignoring the severity of Mr.

Reary’s mental health conditions as found by the VA, including the relevance of the severity of

those conditions to Mr. Reary’s fitness for service (e.g. ability to carry a weapon, deploy, or

perform duties of his MOS).

         55.      Plaintiff Reary has suffered a legal wrong as a result of the BCNR’s arbitrary and

capricious decision, because he was deprived of his right to a meaningful review from the

BCNR. The BCNR’s incorrect decision caused Reary to remain with the stigma of medical

separation from the Navy. This means Reary was deprived of a discharge status that his serious

disability and honorable service warrant—medical retirement.

         56.      Plaintiff Reary served his country honorably. He volunteered to serve our country

in a time of great need and risked his life to assist the Navy in dangerous and important

operations in Afghanistan.

         57.      Awarding Plaintiff Reary medical retirement status would correct the injustice

caused by the BCNR’s arbitrary and capricious decision of approving the PEB’s earlier

determination.

                                       PRAYER FOR RELIEF

         WHEREFORE, Plaintiff Jared R. Reary prays that this Court enter judgment against

Defendants and grant the following relief:

               a) Find that the BCNR’s determination was arbitrary and capricious, unsupported by

                  substantial evidence, and contrary to law;

               b) Order Plaintiff’s military records— including without limitation his DD Form 214

                  and his retirement orders— be corrected to reflect a permanent medical retirement

                  with a disability rating of at least 70%;

               c) Declare that the BCNR has violated the Administrative Procedures Act;
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               d) Award Plaintiff interest, costs, and attorneys’ fees; and

               e) Grant such other and further relief as the Court deems just and proper.

Dated: October 19, 2020

                                                 Respectfully submitted,

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